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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 17-1660
                                     Filed: April 12, 2024

* * * * * * * * * * * * * *
K.L.,                      *                              UNPUBLISHED
                           *
         Petitioner,       *
                           *
v.                         *                              Attorneys’ Fees and Costs
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Alec Saxe, U.S. Department of Justice, Washington, DC, for respondent.

                        DECISION ON ATTORNEYS’ FEES AND COSTS1

Roth, Special Master:

         On November 1, 2017, K.L. (“petitioner”) filed a petition pursuant to the National Vaccine
Injury Compensation Program (“the Program”)2, alleging that she developed a shoulder injury related
to vaccine administration (“SIRVA”) after receiving a tetanus-diphtheria-acellular pertussis (“Tdap”)
vaccination on November 14, 2014. Petition, ECF No. 1. On March 30, 2023, petitioner filed a
motion to voluntarily dismiss her petition, and on March 31, 2023, the undersigned issued her
decision dismissing the petition for insufficient proof. (ECF No. 71).

       On October 6, 2023, petitioner filed an application for final attorneys’ fees and costs.
(“Fees App.”) (ECF No. 76). Petitioner requests total attorneys’ fees and costs in the amount
of $47,576.48, representing $46,177.90 in attorneys’ fees and $1,398.58 in costs. Fees App. at 2.

1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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Pursuant to General Order No. 9, petitioner has indicated she has not personally incurred any
costs in pursuit of this litigation. (ECF No. 77). Respondent responded to the motion on October
17, 2023, stating “Respondent is satisfied the statutory requirements for an award of attorneys’ fees
and costs are met in this case” and requesting that the undersigned “exercise her discretion and
determine a reasonable award for attorneys’ fees and costs.” Response at 2 (ECF No. 78).
Petitioner did not file a reply thereafter.

        This matter is now ripe for consideration.

                                       I. Legal Framework

         The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.” §
15(e)(1). If a petitioner succeeds on the merits of his or her claim, the award of attorneys' fees is
automatic. Id.; see Sebelius v. Cloer, 133 S. Ct. 1886, 1891 (2013). However, a petitioner need not
prevail on entitlement to receive a fee award as long as the petition was brought in “good faith”
and there was a “reasonable basis” for the claim to proceed. § 15(e)(1). Here, although the petition
was eventually dismissed, the undersigned is satisfied that the claim possessed both good faith and
a reasonable basis to proceed. Respondent has also indicated that he is satisfied that the
requirements of good faith and reasonable basis have been met in this case. Accordingly, petitioner
is entitled to a final award of reasonable attorneys’ fees and costs.

        The Federal Circuit has endorsed the use of the lodestar approach to determine what
constitutes “reasonable attorneys' fees” and “other costs” under the Vaccine Act. Avera v. Sec'y of
Health & Human Servs., 515 F.3d 1343, 1349 (Fed. Cir. 2008). Under this approach, “an initial
estimate of a reasonable attorneys' fees” is calculated by “multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate.” Id. at 1347–48 (quoting
Blum v. Stenson, 465 U.S. 886, 888 (1984)). That product is then adjusted upward or downward
based on other specific findings. Id.

        Special masters have substantial discretion in awarding fees and may adjust a fee request
sua sponte, apart from objections raised by respondent and without providing petitioners with
notice and opportunity to respond. See Sabella v. Sec'y of Health & Human Servs., 86 Fed. Cl.
201, 209 (2009). Special masters need not engage in a line-by-line analysis of petitioner's fee
application when reducing fees. See Broekelschen v. Sec'y of Health & Human Servs., 102 Fed.
Cl. 719, 729 (2011).

                                           II. Discussion

A.     Reasonable Hourly Rate

        A “reasonable hourly rate” is defined as the rate “prevailing in the community for similar
services by lawyers of reasonably comparable skill, experience and reputation.” Avera, 515 F.3d
at 1348 (quoting Blum, 465 U.S. at 896 n.11). In general, this rate is based on “the forum rate for
the District of Columbia” rather than “the rate in the geographic area of the practice of petitioner's
attorney.” Rodriguez v. Sec'y of Health & Human Servs., 632 F.3d 1381, 1384 (Fed. Cir. 2011)
(citing Avera, 515 F. 3d at 1349). There is a “limited exception” that provides for attorney's fees


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to be awarded at local hourly rates when “the bulk of the attorney's work is done outside the forum
jurisdiction” and “there is a very significant difference” between the local hourly rate and forum
hourly rate. Id. This is known as the Davis County exception. See Hall v. Sec'y of Health & Human
Servs., 640 F.3d 1351, 1353 (2011) (citing Davis Cty. Solid Waste Mgmt. & Energy Recovery
Special Serv. Dist. v. U.S. EPA, 169 F.3d 755, 758 (D.C. Cir. 1999)).

        For cases in which forum rates apply, McCulloch provides the framework for determining
the appropriate hourly rate range for attorneys' fees based upon the attorneys' experience. See
McCulloch v. Sec'y of Health & Human Servs., No. 09–293V, 2015 WL 5634323 (Fed. Cl. Spec.
Mstr. Sept. 1, 2015). The Office of Special Masters has accepted the decision in McCulloch and
has issued a Fee Schedule for subsequent years.3

      Petitioner requests the following hourly rates for the work of her counsel at Conway,
Homer, P.C:

                       2016      2017      2018       2019     2020        2021      2022     2023
    Ronald Homer         -       $409      $421       $430     $447        $447      $475     $500
    Christina            -         -         -        $350       $380      $380        -      $470
    Ciampolilo
    Meridith Daniels   $280        -         -        $320       -           -         -      $455
    Lauren Faga        $265      $271      $279       $285       -         $330        -      $425
    Patrick Kelly        -         -         -        $205     $225        $225        -      $305
    Joseph Pepper        -       $297      $305         -      $355        $355        -        -
    Paralegal          $135      $138      $142       $145     $155        $155        -      $185

        These rates are consistent with what counsel and paralegals have previously been awarded
for their Vaccine Program work, and the undersigned finds them to be reasonable herein.

B.       Hours Reasonably Expended

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton ex rel. Saxton v. Sec'y of Health &
Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v. Eckerhart, 461 U.S. 424,
434 (1983)). “Unreasonably duplicative or excessive billing” includes “an attorney billing for a
single task on multiple occasions, multiple attorneys billing for a single task, attorneys billing
excessively for intra office communications, attorneys billing excessive hours, [and] attorneys
entering erroneous billing entries.” Raymo v. Sec'y of Health & Human Servs., 129 Fed. Cl. 691,
703 (2016). While attorneys may be compensated for non-attorney-level work, the rate must be
comparable to what would be paid for a paralegal or secretary. See O'Neill v. Sec'y of Health &
Human Servs., No. 08–243V, 2015 WL 2399211, at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 2015).

3
 The Fee Schedules can be accessed at http://www.cofc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch v. Sec’y of Health & Human
Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1, 2015).


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Clerical and secretarial tasks should not be billed at all, regardless of who performs them. See, e.g.,
McCulloch, 2015 WL 5634323, at *26. Hours spent traveling are ordinarily compensated at one-
half of the normal hourly attorney rate. See Scott v. Sec'y of Health & Human Servs., No. 08–756V,
2014 WL 2885684, at *3 (Fed. Cl. Spec. Mstr. June 5, 2014) (collecting cases). And “it is
inappropriate for counsel to bill time for educating themselves about basic aspects of the Vaccine
Program.” Matthews v. Sec'y of Health & Human Servs., No 14–1111V, 2016 WL 2853910, at *2
(Fed. Cl. Spec. Mstr. Apr. 18, 2016). Ultimately, it is “well within the Special Master's discretion
to reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for the work
done.” Saxton, 3 F.3d at 1522. In exercising that discretion, special masters may reduce the number
of hours submitted by a percentage of the amount charged. See Broekelschen, 102 Fed. Cl. at 728–
29 (affirming the Special Master’s reduction of attorney and paralegal hours); Guy v. Sec'y of
Health & Human Servs., 38 Fed. Cl. 403, 406 (1997) (same).

         Upon review, the undersigned finds the majority of the hours billed to be reasonable.
However, a small amount must be reduced for attorney time billed for review of status reports
prepared by other attorneys. The undersigned notes that it is common practice for Conway, Homer,
P.C. to have several attorneys assist over the course of a case. In some instances, such as when
preparing substantive documents like the petition, briefs, and settlement demands, it is reasonable
to have another set of eyes review that document. However, it is not reasonable to have an attorney
bill for time to review routine filings, such as status reports and motions for enlargement of time,
when those filings were prepared (and billed for) by another attorney. This is not the first time the
undersigned or other special masters have noted this particular issue concerning Conway, Homer,
P.C. billing practices. See, e.g., Manetta v. Sec’y of Health & Hum. Servs., No. 18-172V, 2020
WL 7392813, at *2 (Fed. Cl. Spec. Mstr. Nov 19, 2020); Lyons v. Sec’y of Health & Hum. Servs.,
No. 18-414V, 2020 WL 6578229 (Fed. Cl. Spec. Mstr. Oct. 2, 2020). A reduction of $855.50 shall
be made to address this issue.

      Accordingly, petitioner is entitled to a final award of attorneys’ fees in the amount of
$45,322.40.

C.     Reasonable Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,398.58 in costs for acquiring medical records, postage, the hearing transcript, and the
Court’s filing fee. Petitioner has provided adequate documentation supporting the requested costs
and all appear reasonable in the undersigned’s experience. Accordingly, petitioner is entitled to
final attorneys’ costs of $1,398.58.

                                          III. Conclusion

        In accordance with the foregoing, petitioner’s motion for attorneys’ fees and costs is
GRANTED. The undersigned hereby awards a lump sum of $46,720.98, representing
reimbursement for petitioner’s attorneys’ fees and costs, in the form of a check payable
jointly to petitioner and Mr. Ronald Craig Homer.



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        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.4

        IT IS SO ORDERED.

                                                 s/Mindy Michaels Roth
                                                 Mindy Michaels Roth
                                                 Special Master




4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
Vaccine Rule 11(a).

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